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                        UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION


 MOTOROLA SOLUTIONS, INC.,                     )
                                               )    Civil Action No. 1:17-cv-01972
               Plaintiff                       )
                                               )     Honorable Steven C. Seeger
        v.
                                               )
 HYTERA COMMUNICATIONS                         )
 CORPORATION LTD., and                         )
 HYTERA COMMUNICATIONS                         )
 AMERICA (WEST), INC.,                         )
                                               )
               Defendants
                                               )
                                               )
                                               )

      ORDER REGARDING CLAIM CONSTRUCTION BRIEFING SCHEDULE,
             NUMBER OF TERMS, AND BRIEFING PAGE LIMITS

       Before the Court is the parties’ Joint Proposed Order Regarding Claim Construction

Briefing Schedule, Number of Terms, and Briefing Page Limits (“Joint Proposed Order”). After

careful consideration, the Court concludes that the Motion should be, and hereby is GRANTED.

       It is therefore ORDERED that the deadlines in this case shall be modified as follows:

      Event                                 Existing Date           New Date
                                            (Dkt. No. 150)
      Deadline to file opening claim        August 10, 2020         August 19, 2020
      construction briefs and joint
      appendix
      Deadline to serve responsive claim    September 8, 2020       September 14, 2020
      construction briefs pursuant to LPR
      4.2(c)

       All other currently scheduled dates remain the same.

       It is also ordered that the parties shall jointly propose 22 terms total for construction

pursuant to Local Patent Rule (“LPR”) 4.1(b). These 22 terms will consist of five terms proposed
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by both Motorola and Hytera for construction, as well as 17 additional terms to be proposed by

Hytera.

          It is also ordered that Hytera’s opening claim construction brief shall not exceed 40

pages, Motorola’s responsive claim construction brief shall also not exceed 40 pages, and

Hytera’s reply claim construction brief shall not exceed 20 pages.




Date: August 10, 2020

                                                       Steven C. Seeger
                                                       United States District Judge




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